      Case 2:08-cr-00191-MEF-TFM Document 18 Filed 10/29/08 Page 1 of 1




                  IN THE UNITED STATES DISTRICT COURT FOR
                      THE MIDDLE DISTRICT OF ALABAMA
                             NORTHERN DIVISION

UNITED STATES OF AMERICA                       )
                                               )
v.                                             )     CASE NO. 2:08-cr-191-MEF
                                               )                (WO)
SAMMY SHELTON                                  )

                                      ORDER

       Upon consideration of defendant Sammy Shelton's Motion to Continue Trial (Doc.

#17) filed on October 28, 2008, it is hereby

       ORDERED that the co-defendant and government show cause in writing on or before

November 5, 2008 as to why this motion should not be granted.

       DONE this the 29th day of October, 2008.




                                                  /s/ Mark E. Fuller
                                          CHIEF UNITED STATES DISTRICT JUDGE
